                                         Case 3:22-cv-03580-WHO Document 540 Filed 07/10/24 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     IN RE META PIXEL HEALTHCARE                        Case No. 22-cv-03580-WHO (VKD)
                                         LITIGATION,
                                   8                                                        ORDER GRANTING IN PART AND
                                                                                            DENYING IN PART META’S
                                   9     This Document Relates To:                          PROPOSED REDACTIONS TO JUNE
                                                                                            18, 2024 DISCOVERY ORDER
                                         All Actions.
                                  10
                                                                                            Re: Dkt. No. 524
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On June 18, 2024, the Court issued an “Order re May 8, 2024 Discovery Dispute re

                                  14   Privilege Claims,” and provisionally sealed that order, pending the parties’ submission of

                                  15   proposed redactions. See Dkt. No. 517. Meta has requested that portions of the order be redacted

                                  16   to protect its claimed confidential information regarding “specific confidential, non-public

                                  17   strategic issues analyzed by Meta,” “internal processes Meta employees used to seek and obtain

                                  18   legal advice,” and the “context” and “specific details” about its internal processes for seeking legal

                                  19   advice. Dkt. No. 524.

                                  20          There is a strong presumption in favor of access by the public to judicial records and

                                  21   documents accompanying dispositive motions that can be overcome only by a showing of

                                  22   “compelling reasons supported by specific factual findings.” Kamakana v. City & Cnty. of

                                  23   Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006) (internal quotation marks and citation omitted).

                                  24   However, the presumption does not apply equally to a motion addressing matters that are only

                                  25   “tangentially related to the merits of a case,” Ctr. for Auto Safety v. Chrysler Group, LLC, 809

                                  26   F.3d 1092, 1101 (9th Cir.), cert. denied sub nom FCA U.S. LLC v. Ctr. for Auto Safety, 137 S. Ct.

                                  27   38 (2016). A party seeking to seal documents or information in connection with such a motion

                                  28   must meet the lower “good cause” standard of Fed. R. Civ. P. 26(c). Id. at 1098-99; Kamakana,
                                         Case 3:22-cv-03580-WHO Document 540 Filed 07/10/24 Page 2 of 2




                                   1   447 F.3d at 1179-80.

                                   2          Good cause appearing, the Court grants in part Meta’s request to redact portions of the

                                   3   June 18, 2024 discovery order. However, Meta’s request to seal the following portions of that

                                   4   order are denied, as the subject text is generic and Meta has not established good cause to maintain

                                   5   that information under seal:

                                   6          Dkt. No. 516 at page 5, line 24; page 8, line 12; page 9, lines 25-26; page 10, lines 5-6, and

                                   7   page 11, lines 3-4 and line 25.

                                   8          The Court will post a redacted version of its June 18, 2024 discovery order accordingly.

                                   9          IT IS SO ORDERED.

                                  10   Dated: July 10, 2024

                                  11

                                  12
Northern District of California
 United States District Court




                                                                                                    Virginia K. DeMarchi
                                  13                                                                United States Magistrate Judge
                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                        2
